Case 1:99-cV-01286-.]DB-tmp Document 84 Filed 05/06/05 Page 1 of 2 Page|D 68

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IN THE UNITED sTATEs DISTRICT COURT L` D By`~\ Di’.`
FOR THE WESTERN DISTRICT OF TENNESSEEOS HI" 'v

EASTERN DIVISION `5 PH 3_. 49
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ci , if .O/ m
TERRY oTTOWAY, WSQIQ';§';-;JFSAD/Srtg
. . ;VV_V!VI CKS .
Pla`mtiff,
v. No. 99-1236-13

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

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IT IS SO 0RDERED this é day of May, 2005.

 

J. DANiEL BREEN
NIT D STATES DISTRICT JUDGE

This document entered on the docket sheet in compliance
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Honorable J. Breen
US DISTRICT COURT

